                 Case 2:16-cv-01614-JLR Document 25 Filed 09/18/20 Page 1 of 2




 1                                                                          The Honorable James L. Robart

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 5
                                UNITED STATES DISTRICT COURT FOR THE
 6                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 7

 8
     UNITED STATES OF AMERICA, ex rel.                   CASE NO. 16-CV-1614-JLR
 9
     Aaron Chung,
10                                                       ORDER DISMISSING COMPLAINT
                                   Plaintiff,
11
                           v.
12
     DUSA PHARMACEUTICALS, INC., a New
     Jersey Corporation,
13

14                                 Defendant.

15          The Court, having considered the Stipulation of Dismissal filed by the United States and

16 Relator Aaron Chung, it is hereby ORDERED, pursuant to 31 U.S.C. ' 3730(b)(1), that:

17          1.      The Parties having agreed to a settlement of certain claims raised in this matter;

18          2.      All of the claims set forth in the Complaint shall be dismissed against Defendant with

19 prejudice to the Relator, and with prejudice to the United States to the extent of the ACovered

20 Conduct,@ as that term is defined in the Settlement Agreement concluded among the United States,

21 the Relator, and Defendant DUSA Pharmaceuticals, Inc., on August 12, 2020, but otherwise without

22 prejudice to the United States; and

23          3.      The Court shall retain jurisdiction to enforce the terms of the Settlement Agreement.

      [PROPOSED] ORDER - 1                                                       UNITED STATES ATTORNEY
      CASE NO: 16-CV-1614-JLR                                                   700 S TEWART S TREET, S UITE 5220
                                                                                  S EATTLE, W ASHINGTON 98101
                                                                                         (206) 553-7970
             Case 2:16-cv-01614-JLR Document 25 Filed 09/18/20 Page 2 of 2




1          DATED this 18th day of September , 2020.

2

3                                                     A
                                                  JAMES L. ROBART
4                                                 United States District Judge

5 Presented by:

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23

     [PROPOSED] ORDER - 2                                                 UNITED STATES ATTORNEY
     CASE NO: 16-CV-1614-JLR                                             700 S TEWART S TREET, S UITE 5220
                                                                           S EATTLE, W ASHINGTON 98101
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